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Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
DISTRICT OF DELAWARE

 

 

 

Case number (if known) Chapter 11
[-] Check if this an amended
filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4/16

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).

For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name The Bon-Ton Stores, Inc.

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification | XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

2801 E. Market St.
York, PA 17402

 

 

 

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
York Location of principal assets, if different from principat
County place of business

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL) www.bonton.com

 

6. Type of debtor EX] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CL Partnership (excluding LLP)
LC] Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor The Bon-Ton Stores, Inc. Case number (if known)

 

 

Name

7. Describe debtor's business A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

MOOOOOO

B. Check all that apply

CC Tax-exempt entity (as described in 26 U.S.C. §501)

CT Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
| Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

4521
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? L] Chapter 7
C] Chapter 9

DX] Chapter 11. Check aif that apply:

C] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

L] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

{_] A plan is being filed with this petition.

[| Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

xX The debtor is required to file periodic.reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
Form 201A) with this form.

E] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
| Chapter 12

 

9. Were prior bankruptcy
cases filed by or against the
debtor within the last 8
years?

If more than 2 cases, attach a

x No.
E] Yes.

 

 

 

 

separate list. District When Case number

District When Case number
10. Are any bankruptcy cases [_] No

pending or being filed by a

business partner or an DX] Yes.

affiliate of the debtor?

List all cases. If more than 1,

attach a separate list Debtor See Attachment A to Voluntary Petition Relationship
District When Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor The Bon-Ton Stores, Inc.
Name

 

11. Why is the case filed in
this district?

Check all that apply:

Case number (if known)

 

| Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

xX] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtorownor [Xx] No
have possession of any
real property or personal
property that needs

[_] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

immediate attention?

Why does the property need immediate attention? (Check ail that apply.)

| It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

L] It needs to be physically secured or protected from the weather.

LC] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,

livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

LC] Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code

Is the property insured?
{ ] No

[] Yes. Insurance agency

 

Contact name

 

Phone

 

 

a Statistical and administrative information

 

13. Debtor's estimation of
available funds

Check one:

Xx Funds will be available for distribution to unsecured creditors.

C] After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of [] 1-49 DX] 1,000-5,000 [_] 25,001-50,000
creditors L_] 50-99 L_] 5001-10,000 [_] 50,001-100,000
L_] 100-199 [_] 10,001-25,000 [_] More than100,000
[_] 200-999
15. Estimated Assets [_] $0 - $50,000 L_] $1,000,004 - $10 million [_] $500,000,001 - $1 billion

[_] $10,000,001 - $50 million
[_] $50,000,001 - $100 million
[] $100,000,001 - $500 million

X] $50,001 - $100,000
[_] $100,001 - $500,000
[_] $500,001 - $4 million

L_] $1,000,000,001 - $10 billion
[_] $10,000,000,001 - $50 billion
[_] More than $50 billion

 

16. Estimated liabilities | $1,000,001 - $10 million

[_] $10,000,001 - $50 million
[_] $50,000,001 - $100 million
[] $100,000,001 - $500 million

[_] $0 - $50,000

[] $50,001 - $100,000
[] $100,001 - $500,000
[_] $500,001 - $1 million

DX] $500,000,004 - $1 billion

[_] $1,000,000,001 - $10 billion
[] $10,000,000,001 - $50 billion
[_] More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
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Debtor The Bon-Ton Stores, Inc. Case number (if known)

 

 

Name

| | Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is trued and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon © 2./04 Do
MM/DD/IYYYY
x ae Araol CMhae Michael Culhane

Signature of authorized representative of debtor Printed name

Executive Vice President —
Title Chief Financial Officer

 

 

18. Signature of attorney X Zhuctinas Papen Date 02 /oy/2.01%

Aignature of attorney for debtor MM /DD/YYYY

Pauline K. Morgan
Printed name

Young Conaway Stargatt & Taylor, LLP
Firm name

 

Rodney Square

1000 N. King Street

Wilmington, DE 19801

Number, Street, City, State & ZIP Code

 

Contact phone _(302) 571-6600 Emailaddress _pmorgan@ycst.com

3650 (DE)
Bar number and State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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ATTACHMENT A TO VOLUNTARY PETITION
Pending Bankruptcy Cases Filed by Affiliated Entities

On the date hereof, each of the related entities listed below (collectively, the “Debtors”),

including the debtor in this chapter 11 case, will file or have filed a petition in the United States

Bankruptcy Court for the District of Delaware (the “Court’’) for relief under chapter 11 of title 11

of the United States Code. Contemporaneously with the filing of their voluntary petitions, the

Debtors filed a motion requesting that the Court consolidate their chapter 11 cases for

administrative purposes only.

1.

2.

The Bon-Ton Stores, Inc. (XX-XXXXXXX)
The Bon-Ton Department Stores, Inc. (XX-XXXXXXX)
The Bon-Ton Giftco, LLC (XX-XXXXXXX)

Carson Pirie Scott II, Inc. (XX-XXXXXXX)

. Bon-Ton Distribution, LLC (XX-XXXXXXX)

McRIL, LLC (XX-XXXXXXX)
Bonstores Holdings One, LLC (XX-XXXXXXX)
Bonstores Realty One, LLC (XX-XXXXXXX)

Bonstores Holdings Two, LLC (XX-XXXXXXX)

10. Bonstores Realty Two, LLC (XX-XXXXXXX)

 
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
THE BON-TON STORES, INC., et al.,' Case No. 18- ‘a
Debtors. (Joint Administration Requested)

 

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

1. Ifany of the debtor’s securities are registered under Section 12 of the Securities Exchange Act
of 1934, the SEC file number is _0-19517__.

2. The following financial data is the latest available information and refers to the debtor’s
condition on October 28, 2017.

 

a. Total assets $1,586,595,000
‘b. Total debts $1,742,558,000
c. Debt securities held by more than 500 holders: N/A

d. Number of shares of preferred stock N/A

e. Number of shares common stock 20,808,955

 

Comments, if any: Total assets and total debts are listed according to the debtor’s unaudited
financial statements as of October 28, 2017, as set forth in the debtor’s Form 10-O. The debtor’s Form
10-Q lists the aggregate total assets and total debts of the debtor and its subsidiaries. All intercompany
transactions have been eliminated in consolidation. The shares of common stock listed above are those
outstanding as of November 30, 2017.

 

3. Brief description of debtor’s business: The debtor operates, through its subsidiaries, 260
stores, including nine furniture galleries and four clearance centers, in 24 states in the Northeast, Midwest,
and upper Great Plains under the Bon-Ton, Bergner’s, Boston Store, Carson’s, Elder-Beerman,
Herberger’s, and Younkers nameplates.

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor: Tim Grumbacher; Brigade Capital Management, LP

 

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: The Bon-Ton Stores, Inc. (5229); The Bon-Ton Department Stores, Inc. (9309); The
Bon-Ton Giftco, LLC (2805); Carson Pirie Scott I], Inc. (2140); Bon-Ton Distribution, LLC (5855); McRIL, LLC
(5548); Bonstores Holdings One, LLC (8574); Bonstores Realty One, LLC (8931); Bonstores Holdings Two, LLC
(8775); and Bonstores Realty Two, LLC (9075). The headquarters for the above-captioned Debtors is 2801 East
Market Street, Bldg. E, York, Pennsylvania 17402.

 
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SECRETARY’S CERTIFICATE

The undersigned, being the secretary of The Bon-Ton Stores, Inc., a Pennsylvania
corporation (the “Company”), hereby certifies as follows:

1.

I am the duly qualified and elected secretary of the Company and, as such,
am familiar with the facts herein certified, and I am duly authorized to
certify the same on behalf of the Company.

Attached hereto is a true and complete copy of the resolutions of the board
of directors (the “Board”’) of the Company, duly adopted at a properly
convened meeting of the Board on February 4 , 2018.

 

Such resolutions have not been amended, altered, annulled, rescinded, or
revoked, and are in full force and effect as of the date hereof. There exist
no other subsequent resolutions of the Board of the Company relating to
the matters set forth in the resolution attached hereto.

IN WITNESS WHEREOEF, the undersigned has executed this certificate as of the
4 th day of February, 2018.

Mat batAR

Nathaniel W. Adams

 
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THE BON-TON STORES, INC.

Upon motion duly made, seconded, and carried, the following resolutions were duly adopted by
the vote of the directors present at a properly convened meeting of the board of directors (the
“Board”) of The Bon-Ton Stores, Inc. (the “Company”), a Pennsylvania corporation, at which a
quorum was present, in each case in accordance with the Pennsylvania Business Corporation
Law of 1988, as amended:

I. CHAPTER 11 FILING

WHEREAS, it has been proposed that the Company seek to restructure by seeking
relief under the provisions of Chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”).

NOW, THEREFORE, BE IT RESOLVED, based on factors and information
deemed relevant to the Board, in the judgment of the Board, it is desirable and in the best
interests of the Company, its creditors and other interested parties that a petition (the “Petition”)
be filed pursuant to Chapter 11 of the Bankruptcy Code on behalf of the Company;

FURTHER RESOLVED, that the filing of a voluntary petition on behalf of
Company be, and the same hereby is, approved and adopted in all respects and that any officer of
the Company (each, an “Officer” and collectively, the “Officers”), be and each hereby is,
authorized and empowered on behalf of the Company, to execute, acknowledge, deliver, and
verify the Petition and to cause the same to be filed with the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) at such time as such Officer may determine;

FURTHER RESOLVED, that each of the Officers of the Company, be and hereby
are, authorized to (a) execute and file all petitions, schedules of assets and liabilities, statements
of financial affairs, lists and other papers to take any and all related actions that such Officers
may deem necessary or proper in connection with such chapter 11 case(s), (b) execute,
acknowledge, deliver and verify any and all documents necessary or proper in connection with
the Petition and to administer the Company’s chapter 11 case in such form or forms as such
Officer may deem necessary or proper and in order to effectuate the foregoing resolutions, and
(c) engage any professionals, including attorneys, accountants, financial advisors, investment
bankers, actuaries, consultants, brokers or other experts as such Officer deems necessary or
proper to accomplish the purposes of the resolutions;

FURTHER RESOLVED, that the law firm of Paul, Weiss, Rifkind, Wharton &
Garrison LLP (“Paul Weiss”), as lead restructuring counsel, shall be, and hereby is, authorized,
empowered, and directed to represent the Company, as debtor and debtor in possession, in
connection with any chapter 11 case commenced by or against the Company under the
Bankruptcy Code, and to (a) execute, acknowledge, deliver and verify the Petition and all other
ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made, prior to execution thereof, any modifications to the Petition or any ancillary
document as an Officer of the Company deems necessary, desirable, or appropriate to carry out
the intent and accomplish the purpose of these resolutions, (b) execute, acknowledge, deliver,
verify, and file or cause to be filed all petitions, schedules, statements, lists, motions,
applications, and other papers or documents necessary or proper in connection with the
foregoing, and (c) execute, acknowledge, deliver, and verify any and all other documents
necessary or proper in connection therewith and to administer the Company’s chapter 11 case in

 

 
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form or forms as any Officer of the Company may deem necessary or proper and in order to
effectuate the purpose of the intent of the foregoing resolutions;

FURTHER RESOLVED, that the law firm of Young Conaway Stargatt & Taylor,
LLP (“Young Conaway”), as co-counsel with Paul Weiss, shall be, and hereby is, authorized,
empowered, and directed to represent the Company, as debtor and debtor in possession, in
connection with any chapter 11 case commenced by or against the Company under the
Bankruptcy Code, and to (a) execute, acknowledge, deliver and verify the Petition and all other
ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made, prior to execution thereof, any modifications to the Petition or any ancillary
document as an Officer of the Company deems necessary, desirable, or appropriate to carry out
the intent and accomplish the purpose of these resolutions, (b) execute, acknowledge, deliver,
verify, and file or cause to be filed all petitions, schedules, statements, lists, motions,
applications, and other papers or documents necessary or proper in connection with the
foregoing, and (c) execute, acknowledge, deliver, and verify any and all other documents
necessary or proper in connection therewith and to administer the Company’s chapter 11 case in
form or forms as any Officer of the Company may deem necessary or proper and in order to
effectuate the purpose of the intent of the foregoing resolutions;

FURTHER RESOLVED, that PJT Partners LP (“PJT Partners”) be, and hereby is,
authorized, empowered, and directed to represent the Company as its investment banker in
connection with any case commenced by the Company under the Bankruptcy Code;

FURTHER RESOLVED, that AP Services, LLC (“AlixPartners”) be, and hereby is,
authorized, empowered, and directed to represent the Company as its financial advisor in
connection with any case commenced by the Company under the Bankruptcy Code;

FURTHER RESOLVED, that Prime Clerk LLC (“Prime”) be, and hereby is,
authorized, empowered, and directed to represent the Company as its notice, claims, solicitation,
and balloting agent in connection with any case commenced by the Company under the
Bankruptcy Code;

FURTHER RESOLVED, that A&G Realty Partners LLC (“AG Realty”, and
together with Paul Weiss, Young Conaway, PJT Partners, AlixPartners, and Prime, collectively,
the “Advisors”) be, and hereby is, authorized, empowered, and directed to represent the
Company as its real estate advisor in connection with any case commenced by the Company
under the Bankruptcy Code;

FURTHER RESOLVED, that the Advisors are hereby authorized to take any and all
actions necessary or desirable to advise the Company with respect to its rights and obligations

and facilitate the commencement of any case commenced by the Company under the Bankruptcy
Code;

II. DEBTOR-IN-POSSESSION-FINANCING
1. Parent Guaranty

FURTHER RESOLVED, that to induce the Lenders under the Loan and Security
Agreement referred to below to make loans or other extensions of credit to The Bon-Ton
Department Stores, Inc., a Pennsylvania corporation, Bon-Ton Distribution, LLC, an Illinois
limited liability company, Carson Pirie Scott II, Inc., a Florida corporation, McRIL, LLC, a
Virginia limited liability company, Bonstores Realty One, LLC, a Delaware limited liability

 
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company, Bonstores Realty Two, LLC, a Delaware limited liability company, and any other
person from time to time a borrower thereunder (collectively, the “Borrowers”), the Company
be, and it hereby is, authorized (i) to guarantee the payment and performance of the obligations,
liabilities and indebtedness of the Borrowers, the other Obligors (as defined below) and their
respective subsidiaries arising under, out of or in connection with the Senior Secured, Super-
Priority Debtor-in-Possession Loan and Security Agreement (or one or more ancillary documents
and any amendments thereto) (collectively, the “Loan and Security Agreement”) to be entered
into by and among the Borrowers, the entities listed on the signature pages thereto as obligors
(together with the Borrowers, the “Obligors”), the lenders listed on the signature pages thereto
(the “Lenders”), and Bank of America, N.A. (“Bank of America”), a national banking
association, as administrative agent for the Lenders (in such capacity, the “Agent’”), Bank of
America and Wells Fargo Bank, National Association, as co-collateral agents and Crystal
Financial LLC, as documentation agent for the Tranche A-1 Lenders substantially in the form
presented to the Board of Directors, to provide for loans or other extensions of credit to be made
to the Borrowers in an aggregate principal amount of up to $725,000,000, (ii) in furtherance of
the foregoing, to enter into such guaranty or other agreements as the Agent may require on such
terms and conditions and in such form as are approved or deemed necessary, appropriate or
desirable by the officer executing the same (the “Guaranty”), the execution thereof by such
officer to be conclusive evidence of such approval and determination and (iii) in furtherance of
the foregoing, to enter into the Loan and Security Agreement in the capacity as Obligor and not
as Borrower on such terms and conditions and in such form as are approved or deemed
necessary, appropriate or desirable by the officer executing the same (with such changes as may
be approved by such officers), the execution thereof by such officer to be conclusive evidence of
such approval and determination;

2. Security Interests

FURTHER RESOLVED, that the Company be, and it hereby is, authorized to
secure the payment and performance obligations of the Company under the Loan and Security
Agreement and the Guaranty by (i) pledging to the Agent (or one or more collateral agents
appointed by the Agent or the Lenders) for the benefit of the Agent and the other Secured Parties
(as defined in the Loan and Security Agreement), or granting to the Agent (or one or more
collateral agents appointed by the Agent or the Lenders) for the benefit of the Agent and the
other Secured Parties a lien on or mortgage on or security interest in, all or any portion of the
Company’s assets, including all or any portion of the issued and outstanding capital stock or
membership interests of any subsidiary of the Company, whether now owned or hereafter
acquired by the Company, and (ii) entering into or causing to be entered into such security
agreements, pledge agreements, mortgages, deeds of trust, control agreements, blocked account
service agreements, intellectual property security agreements or other agreements as are
necessary, appropriate or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate or desirable by the officer
executing the same (collectively, the “Security Agreements”), the execution thereof by such
officer to be conclusive evidence of such approval or determination;

Til. GENERAL

FURTHER RESOLVED, that any Officer of the Company shall be, and hereby is,
authorized, directed and empowered, in the name and on behalf of the Company, as debtor and

 
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debtor in possession, to retain that certain contractual joint venture composed of Hilco Merchant
Resources, LLC and Gordon Brothers Retail Partners, LLC (the “Consultant”) to conduct
“going out of business sales” at a certain subset of the Company’s stores in connection with the
commencement of the chapter 11 cases and to provide consulting services relating thereto; and,
in connection therewith, any Officer of the Company is hereby authorized and directed to
execute the Consulting Agreement with the Consultant and related ancillary documents to
effectuate the aforementioned sale;

FURTHER RESOLVED, that any officer of the Company be, and each of them
individually hereby is, authorized, in the name and on behalf of the Company, to execute and
deliver the Loan and Security Agreement in its capacity as Obligor and not as Borrower, the
Guaranty and the Security Agreements (collectively, the “Principal Agreements”) and any other
agreements or amendments related thereto or required thereby containing such terms and
conditions, setting forth such rights and obligations and otherwise addressing or dealing with
such subjects or matters determined to be necessary, appropriate or desirable by the officer
executing the same (collectively, the “Ancillary Agreements”), the execution thereof by such
officer to be conclusive evidence of such determination and to do all such other acts or deeds as
are or as are deemed by such officer to be necessary, appropriate or desirable to effectuate the
intent of, or matters reasonably contemplated or implied by, this resolution and the foregoing
resolutions;

FURTHER RESOLVED, that the Company be, and it hereby is, authorized to
perform fully its obligations under the Principal Agreements and any Ancillary Agreements and
to engage without limitation in such other transactions, arrangements or activities (collectively,
the “Activities”) as are reasonably related or incident to or which will serve to facilitate or
enhance for the benefit of the Borrowers and their subsidiaries the transactions contemplated by
these resolutions, including, without limitation, any modification, extension or expansion
(collectively, the “Changes”) of any of the Activities or of any other transactions, arrangements
or activities resulting from any of the Changes and to enter into such other agreements or
understandings as are necessary, appropriate or desirable to effectuate the intent of, or matters
reasonably contemplated or implied by, this resolution and each of the foregoing resolutions;

FURTHER RESOLVED, that the form, terms and provisions of the Guaranty
substantially in the form presented to the Board of Directors of the Company, the performance of
all the agreements and obligations of the Company under the Guaranty and the consummation of
the transactions contemplated thereby are reasonable, necessary and convenient to the conduct,
promotion and attainment of the business conducted by the Company and are, therefore, in the
best interests of the Company and are hereby approved and adopted in all respects;

FURTHER RESOLVED, that any Officer of the Company shall be, and hereby is,
authorized, directed and empowered, in the name and on behalf of the Company, as debtor and
debtor in possession, to negotiate, execute, deliver and perform on behalf of the Company, and
that such actions and execute, acknowledge, deliver and verify such agreements, certificates,
instruments, guaranties, notices and any and all other documents as such Officer may deem
necessary or proper to facilitate the transactions contemplated by these resolutions; and

FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken prior
to the date hereof by any Officer of the Company or any professionals engaged by the Company
with respect to any transactions contemplated by the foregoing resolutions, or otherwise in
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preparation for or in connection with the Company’s chapter 11 case or any proceedings related
thereto, or any matter related thereto, be and hereby are, adopted, approved, ratified and
confirmed in all respects as the acts and deeds of the Company as if such acts and deeds took
place after the date of these resolutions.
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Fill in this information to identify the case:

Debtorname The Bon-Ton Stores, Inc.

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE

Case number (if known)

 

CL] Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors —_ias

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.

p | Declaration and signature |

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration Consolidated Corporate Ownership Statement

 

MWOOUUOOOO

| declare under penalty of perjury that the foregoing is true and correct.

Executed on Oo 2/04 [ 20/2 x yu € Aeaf CLL

Signature of individual signing on behalf of debtor

Michael Culhane
Printed name

Executive Vice President - Chief Financial Officer
Position or relationship to debtor
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The Bon-Ton Stores, Inc.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# -Name of creditor and complete mailing “==Name; telephone number, and email Nature of the:claim.(e.g.,._| Indicate if clalm,|>"Amount of
: ‘address, Including zip code *::: “. address of creditor contact trade debts, bank loans, | Is contingent,” |... unsecured.
POR Ee oe eo ee Professional services, and’| unliquidated, or cclalm as of.the
= S government contracts): ‘disputed. <| Petition Date
: : ae — =| Unsecured claim
1 [SPARK FOUNDRY SHAUN J KILLEEN Trade $ 8,753,824
222 MERCHANDISE MART 313-471-5780
SUITE 550 SHAUN. KILLEEN@SMVGROUP.COM
CHICAGO IL 60654
2 |ESTEE LAUDER JOSEPHINE ADAMOU Trade $ 5,065,830)
PO BOX 223523 631.847.8483
PITTSBURGH PA 15251-2523 JADAMOU@ESTEE.COM
3 }HANESBRANDS SUSAN VENABLE Trade $ 3,629,360)
21700 NETWORK PLACE 336-519-4821
CHICAGO IL 60673-1217 SUSAN. VENABLE@HANES.COM
4 |KEURIG GREEN MOUNTAIN INC JESSICA LEONARD Trade $ 3,507,041
PO BOX 414159 612-308-9609
BOSTON MA 02241-4159 JESSIKA.LEONARD@KEURIG.COM
5S |MICHAEL KORS USA INC KATHY A. MORRIS Trade $ 2,820,230)
PO BOX 732670 201.514.8028
DALLAS TX 75373-2670 KATHY.MORRIS@MICHAELKORS.COM
6 |PERRY ELLIS ROBERT CANTILLLO Trade $ 2,359,448
PO BOX 277017 305-873-1004
ATLANTA GA 30384-7017 ROBERT. CANTILLO@PERY.COM
7 {RALPH LAUREN KENNETH I. CRUZ Trade $ 2,201,811
PO BOX 911371 201-531-6571
DALLAS TX 75391-1371 KENNETH.CRUZ@RALPHLAUREN.COM
8 |NINE WEST ANN MARIE RYGALSKI Trade $ 2,147,625
PO BOX 277512 215-826-6807
ATLANTA GA 30384-7512 ARYGALSKI@NINEWESTHOLDINGS.COM
9 |RACM Lease Agreement Contingent $ 1,900,000)
809 NORTH BROADWAY 414-286-5730
MILWAUKEE WI 53202 RACMINFO@MILWAUKEE.GOV
10 J|UNDER ARMOUR KIMBERLY.TROAST Trade $ 1,580,691
PO BOX 791022 410-468-2512 EXT. 6589
BALTIMORE MD 21279-1022 KTROAST@UNDERARMOUR.COM
11 |MARC FISHER LLC GILLIAN SHEPARD Trade $ 1,379,449
777 WEST PUTMAN AVE 203-413-5329
GREENWICH CT 06830 GILLIAN.SHEPHERD@FISHERFOOTWEAR.COM
12 |NUWAVE LLC KEITH HANDEN Trade $ 1,246,355
1795 N BUTTERFIELD RD 224-206-3061
LIBERTYVILLE IL 60048 KEITH. HAMDEN@NUWAVENOW.COM
13 |ELIZABETH ARDEN WENDEL KRALOVICH Trade $ 1,107,909
PO BOX 418906
BOSTON MA 02241-8906 WENDEL. KRALOVICH@REVLON.COM
14 |G III LEATHER FASHION INC JOANNE MAYER Trade $ 1,025,074
PO BOX 29242
NEW YORK NY 10087-9242 JOANNE.MAYER@GIILCOM .
15 | INDO COUNT GLOBAL INC Trade $ 978,480)
295 FIFTH AVE, SUITE 1019 646-416-7000
NEW YORK NY 10016 SALES@INDOCOUNT.US
16 |CHICAGO TRIBUNE CARMELA SIRACUSA ‘Trade $ 977,060
435 N MICHIGAN AVE 212-609-3070
CHICAGO IL 60611 CARMELA. SIRACUSA@AMEREXGROUP.COM
17 |LEVI STRAUSS ARLENE BUTCHKO Trade $ 964,718
PO BOX 100883 541-242-7630
ATLANTA GA 30384 ABUTCHKOG@LEVI.COM
18 |SKECHERS USA INC YOLAND ROJAS Trade $ 910,131
PO BOX 74008181 310-318-3100 X4312 :
CHICAGO IL 60674-8181 YOLAND@SKECHERS.COM
19 |CONSTELLATION NEWENERGY INC KENNETH HOWANSKI Trade $ 878,378
PO BOX 4640 888-635-0827
CAROL STREAM IL 60197-4640 KENNETH. HOWANSKI@CONSTELLATION.COM
20 ;CONVERSANT INC JOHN ARDIS Trade $ 876,549

 

ATTN: JOHN ARDIS
101 N WACKER, 23RD FLOOR
CHICAGO IL 60606

 

630-488-2020
JARDIS@CONVERSANTMEDIA.COM

 

 

 

 

 

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The Bon-Ton Stores, Inc.

 

 

  

 

 

 

 

 
    
     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-# Name of.creditor and complete malling Name, telephone number, and-emall- Nature of.the claim (e.g.,-| Indicate If clalm:|"" Amount of.
oon address, including zip code ‘address of creditor contact !2°:” trade debts, bank loans, is'‘contingent, unsecured
me ais , professional services, and unliquidated; or.| claim as ofthe
eee government contracts) | disputed - Petition Date:
oe Se Se J 8s . =e Unsecured claim
21 |DECKERS OUTDOOR CORP DBA TEVA GINA PRITCHARD Trade $ 855,642
PO BOX 8424 800-713-7517 EXT 1254
PASADENA CA 91109 GINA.PRICHARD@DECKERS.COM
22 |UNCAS INTERNATIONAL LLC FELICE SILVIA Trade $ 829,485
PO BOX 780841 401-231-0266
PHILADELPHIA PA 19178-0841 WWW.UNCAS.COM
23 |OAKDALE MALL IE LLC ROBERT MINUTOLI Trade $ 818,542
PO BOX 416525 844-614-4114
BOSTON MA 02241-6525
24 |FAMMA GROUP INC NANCY FRANKENBERG Trade $ 798,599
4510 LOMA VISTA AVE
VERNON CA 90058 NANCY. FRANKENBERG@FAMMAGROUPINC.COM
25 |SAMSONITE LLC JIM REGO Trade $ 770,163
DEPT CH 19296 508-851-1427
PALATINE IL 60055-9296 JAMES.REGO@SAMSONITE.COM
26 |COLLECTION XIIX MITCHELL GROSSMAN Trade $ 769,148)
1370 BROADWAY, 17TH FL 646-929-6047
NEW YORK NY 10018 MGROSSMAN@COLLECTIONXIIX.COM
27 |OXFORD INDUSTRIES INC MIKE SCOTT Trade $ 735,495
999 PEACHTREE ST NE, SUITE 688 404-234-9853
ATLANTA GA 30309 MSCOTT@OXFORDINC.COM
28 |SELECT BRANDS WEBB ROBERTS Trade $ 735,163
10814 RENNER BLVD
LENEXA KS 66219 WEBB.ROBERTS@SELECTBRANDS.COM
29 |FOSSIL INC BRANDON BABAYANS Trade $ 686,206
901 S CENTRAL EXPWY 469-587-3644
RICHARDSON TX 75080 BBABYANS@FOSSIL.COM
30 |MY PILLOW INC MICHAEL LINDELL Trade $ 657,010
343 EAST 82ND STREET 952-400-1180
CHASKA MN 55318
31 |SHISEIDO COSMETICS JANET BACHMAN Trade $ 655,475)
900 THIRD AVENUE, 9TH FLOOR 770-363-5504
NEW YORK NY 10022 JBACHMAN@BPI.SHISEIDO.COM
32 |KAYSER ROTH CORPORATION TODD HOWARD Trade $ 650,648
102 CORPORATE CENTER BLVD 336-547-4654
GREENSBOBO NC 27408
33 |BYER CALIFORNIA TIM HANLON Trade $ 647,197
62685 COLLECTION CENTER DR :
CHICAGO IL 60693-0626 THANLON@BYER.COM
34 |CAPITAL BUILDING SERVICES RICK AIELLO Trade $ 638,671
540 CAPITAL DRIVE, SUITE 100 847-847-3800
LAKE ZURICH, IL 60047
35 |NOTATIONS HELEN SCHREINER Trade $ 626,910
ATTENTION: TESS MAGHIRANG 215-259-2000 EXT 180
539 JACKSONVILLE ROAD HELENS@NOTATIONS.COM
WARMINSTER PA 18974
36 {COTY PRESTIGE LISA CROSS Trade $ 618,933
75-REMITTANCE DR SUITE 6440 732-605-2709
CHICAGO IL 60675-6440 LISA_CROSS@COTYINC.COM
37 |WILLIAM CARTER COMPANY ROBIN SHANNON Trade $ 612,410)
3436 PEACHTREE ROAD NE, SUITE 1800 678-791-7637
ATLANTA GA 30326 ROBIN.SHANNON@CARTERS.COM
38 |KEECO MARTIN BERRY: Trade $ 610,315
30736 WIEGMAN RD 510-401-5036
HAYWARD CA 94544 MBERRY@LKEECO.COM
39 |BT MULTI LLC IAN R WINTERS Trade $ 600,327
C/O WP CAREY INC 212-972-2245
50 ROCKEFELLER PLAZA, 2ND FL
NEW YORK NY 10020
40 |L) ACCESSORIES Trade $ 587,539)
140 CANDACE DRIVE 407-671-0111
MAITLAND FL 32751 INFO@LANDJACCESSORIES.COM

 

 

 

 

 

 

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
THE BON-TON STORES, INC., ef al.,' Case No. 18- Cc)
Debtors. © (Joint Administration Requested)

 

 

CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
The Bon-Ton Stores, Inc. and its subsidiaries, who are each debtors and debtors in possession in
the above-captioned cases, hereby state as follows: |
1. The following is a list all corporations, other than governmental units, that directly

or indirectly own 10% or more of any class of interests in The Bon-Ton Stores, Inc.:

 

 

 

 

 

 

a © | Unit Holdings‘and
| Equity Holder Nature of Interest Held: =| % Ownership
Tim Grumbacher Class A Common Stock 2,951,490 — 100%
2801 E. Market Street 5 °
York, PA 17402 Common Stock 4,330,266 — 21%

 

2. The subsidiary listed below is 100% owned by The Bon-Ton Stores, Inc.:

e The Bon-Ton Department Stores, Inc.

 

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: The Bon-Ton Stores, Inc. (5229); The Bon-Ton Department Stores, Inc. (9309); The
Bon-Ton Giftco, LLC (2805); Carson Pirie Scott II, Inc. (2140); Bon-Ton Distribution, LLC (5855); McRIL, LLC
(5548); Bonstores Holdings One, LLC (8574); Bonstores Realty One, LLC (8931); Bonstores Holdings Two, LLC
(8775); and Bonstores Realty Two, LLC (9075). The headquarters for the above-captioned Debtors is 2801 East
Market Street, Bldg. E, York, Pennsylvania 17402.

2 The number of shares of Common Stock includes Class A Common Stock on an as converted basis.
3.

Stores, Inc.:

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The subsidiaries listed below are 100% owned by The Bon-Ton Department

e The Bon-Ton Giftco, LLC

e Carson Pirie Scott II, Inc.

e Bonstores Holdings One, LLC

e Bonstores Holdings Two, LLC

The subsidiaries listed below are each 100% owned by Carson Pirie Scott H, Inc.:
e Bon-Ton Distribution, LLC

e McRIL, LLC

The subsidiary listed below is 100% owned by Bonstores Holdings One, LLC:

e Bonstores Realty One, LLC

The subsidiary listed below is 100% owned by Bonstores Holdings Two, LLC:

e Bonstores Realty Two, LLC

 
